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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

---------------------------------------x
                                       :
UNITED STATES OF AMERICA               :
                                       :
          -against-                    :                      ORDER
                                       :
                                       :
                                       :
                                                          98-CR-1023-17(LAK)
                                       :
Adel Abdel Bary                        :                     Docket #
---------------------------------------x




Hon. Lewis A. Kaplan           , DISTRICT JUDGE:
      Judge's Name


The C.J.A. attorney previously appointed to represent defendant Bary,
Andrew G. Patel, Esq.,              is hereby ordered to re-appointed for

representation of the defendant in the above captioned matter for

purposes of maing a motion for compassionate release.




                               SO ORDERED.



                                /s/ Lewis A. Kaplan
                                            Hon. Lewis A. Kaplan
                                      UNITED STATES DISTRICT JUDGE




Dated: New York, New York
      7/24/20
